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2
3                                UNITED STATES DISTRICT COURT
4                                        DISTRICT OF NEVADA
5     STEVEN ERIC GOULD,                                         Case No. 2:21-cv-02022-APG-NJK
6                                               Plaintiff                      ORDER
7            v.
8     TRAVIS CHAPMAN, et al.,
9                                            Defendants
10
11   I.     DISCUSSION

12          On November 9, 2021, Plaintiff, an inmate in the custody of the Nevada Department of

13   Corrections (“NDOC”), submitted a civil rights complaint under 42 U.S.C. § 1983 and filed an

14   application to proceed in forma pauperis. Docket Nos. 1-1, 1. Because Plaintiff's financial

15   attachments are not within the required most recent six-month period, Plaintiff’s application to

16   proceed in forma pauperis is incomplete. Plaintiff has not submitted his application with a current

17   financial certificate or a current inmate account statement for the previous six-month period.

18          Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an inmate seeking to begin a civil

19   action in this Court may apply to proceed in forma pauperis in order to file the civil action without

20   prepaying the full $402 filing fee. To apply for in forma pauperis status, the inmate must submit

21   all three of the following documents to the Court:

22          (1) a completed Application to Proceed in Forma Pauperis for Inmate, this Court’s

23          approved form (i.e. pages 1 through 3 with the inmate’s two signatures on page 3),

24          (2) a Financial Certificate properly signed by both the inmate and a prison or jail official

25          (i.e. page 4 of this Court’s approved form), and

26          (3) a copy of the inmate’s prison or jail trust fund account statement for the previous

27          six-month period.

28          Accordingly, the Court denies Plaintiff’s application to proceed in forma pauperis, Docket
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1    No. 1, without prejudice because the application is incomplete. The Court will grant Plaintiff a
2    one-time extension to file a fully complete application to proceed in forma pauperis containing
3    all three of the required documents. Plaintiff must file a fully complete application to proceed in
4    forma pauperis on or before January 11, 2022. Absent unusual circumstances, the Court will not
5    grant any further extensions of time. If Plaintiff does not file a fully complete application to
6    proceed in forma pauperis with all three required documents on or before January 11, 2022, this
7    case will be subject to dismissal without prejudice for Plaintiff to file a new case with the Court
8    when Plaintiff is able to acquire all three of the documents needed to file a fully complete
9    application to proceed in forma pauperis or pays the full $402 filing fee.
10          A dismissal without prejudice means Plaintiff does not give up the right to refile the case
11   with the Court, under a new case number, when Plaintiff has all three documents needed to submit
12   with the application to proceed in forma pauperis. Alternatively, Plaintiff may choose not to file
13   an application to proceed in forma pauperis and instead pay the full filing fee of $402 on or before
14   January 11, 2022 to proceed with this case.
15          The Court will retain Plaintiff’s civil rights complaint, Docket No. 1-1, but the Court will
16   not file the complaint unless and until Plaintiff timely files a fully complete application to proceed
17   in forma pauperis with all three documents or pays the full $402 filing fee.
18   II.    CONCLUSION
19          For the foregoing reasons, IT IS ORDERED that Plaintiff’s application to proceed in forma
20   pauperis, Docket No. 1, is DENIED without prejudice to file a new fully complete application to
21   proceed in forma pauperis with all three documents.
22          IT IS FURTHER ORDERED that the Clerk of the Court will send Plaintiff the approved
23   form application to proceed in forma pauperis by an inmate, as well as the document entitled
24   information and instructions for filing an in forma pauperis application.
25          IT IS FURTHER ORDERED that, on or before January 11, 2022, Plaintiff will either pay
26   the full $402 filing fee for a civil action (which includes the $350 filing fee and the $52
27   administrative fee) or file with the Court:
28          (1) a completed Application to Proceed in Forma Pauperis for Inmate on this Court’s



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1            approved form (i.e. pages 1 through 3 of the form with the inmate’s two signatures on page
2            3),
3            (2) a Financial Certificate properly signed by both the inmate and a prison or jail official
4            (i.e. page 4 of this Court’s approved form), and
5            (3) a copy of the inmate’s prison or jail trust fund account statement for the previous
6            six-month period.
7            IT IS FURTHER ORDERED that, if Plaintiff does not file a fully complete application to
8    proceed in forma pauperis with all three documents or pay the full $402 filing fee for a civil action
9    on or before January 11, 2022, this case will be subject to dismissal without prejudice for Plaintiff
10   to refile the case with the Court, under a new case number, when Plaintiff has all three documents
11   needed to file a complete application to proceed in forma pauperis or pays the the full $402 filing
12   fee.
13           IT IS FURTHER ORDERED that the Clerk of the Court will retain the complaint, Docket
14   No. 1-1, but the Court will not file it at this time.
15           DATED: November 15, 2021.
16
                                                     ___________________________________
17                                                   NANCY J. KOPPE
                                                     UNITED STATES MAGISTRATE JUDGE
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